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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    GREGORY MADRID, a married man, and                   CASE NO. C20-1285-JCC
      NATALIE WEISBERG, a single woman,
10
                                                           MINUTE ORDER
11                           Plaintiffs,
              v.
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      CERTAINTEED, LLC, a Pennsylvania limited
13    liability company as successor-in-interest to
      CERTAINEED CORPORATION, a
14
      Pennsylvania corporation,
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                             Defendant.
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            The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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            This matter comes before the Court on the parties’ stipulated Agreement Regarding
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     Discovery of Electronically Stored Information (Dkt. No. 15) and stipulated Protective Order
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     (Dkt. No. 16). The parties’ proposed ESI Agreement and Protective Order appear to differ in
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     some respects from the District’s model orders. This is permissible, but if the parties wish to
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     depart from the model protective order, they must provide the Court “with a redlined version
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     identifying departures from the model.” LCR 26(c)(2). The Local Rules do not specifically
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     require a redlined version identifying departures from the model ESI Agreement, but the Court
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     finds that it would be helpful in this instance. Therefore, the parties are ORDERED to file

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 1   redlined versions of their stipulated Agreement Regarding Discovery of Electronically Stored

 2   Information (Dkt. No. 15) and stipulated Protective Order (Dkt. No. 16) showing departures

 3   from the District’s models.

 4          DATED this 5th day of November 2020.

 5                                                        William M. McCool
                                                          Clerk of Court
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                                                          s/Paula McNabb
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                                                          Deputy Clerk
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